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   1   JILL WILLIAMS – State Bar No. 221793
       JOSEPH A. GORDON – State Bar No. 314564
   2   CARPENTER, ROTHANS & DUMONT, LLP
       500 S. Grand Avenue, 19th Floor
   3   Los Angeles, CA 90071
       (213) 228-0400 / (213) 228-0401 [Fax]
   4   jwilliams@crdlaw.com / jgordon@crdlaw.com
   5   Attorneys for Defendants,
       County of Los Angeles and
   6   Deputy Jose Hurtado
   7
   8                       UNITED STATES DISTRICT COURT
   9                     CENTRAL DISTRICT OF CALIFORNIA
  10
  11   SHERRIE MILLER: T.M.; a minor, by ) Case No.: 19-9068-JFW(KESx)
       and though her Guardian ad Litem,  )
  12   Sherrie Miller,                    ) JOINT STATEMENT REGARDING
                                          ) MEETING AND CONFERRING ON
  13                Plaintiffs,           ) MOTION TO DISMISS, OR IN THE
                                          ) ALTERNATIVE, REQUEST TO
  14         vs.                          ) CONTINUE TIME TO ENGAGE IN
                                          ) FURTHER MEET AND CONFER
  15   COUNTY OF LOS ANGELES, a           ) IN PERSON
       public entity, DEPUTY HURTADO, a )
  16   public employee; VIVINT, INC., a   )
       corporation; DOES 1-10, Inclusive, )
  17                                      )
                    Defendants.           )
  18                                      )
                                          )
  19                                      )
  20         COME NOW Plaintiffs Sherrie Miller and T.M. and Defendants County of
  21   Los Angeles and Deputy Jose Hurtado (collectively, “County Defendants”)and,
  22   pursuant to the order of the Court dated October 30, 2019, hereby submit the
  23   following joint stipulation concerning their meet and confer efforts on the Motion
  24   to Dismiss filed on behalf of the County of Los Angeles.
  25         1.    On October 29, 2019, Defendant County of Los Angeles filed a
  26   Motion to Dismiss. See Dkt. 12.
  27         2.    On October 30, 2019, this Court issued an order striking the County’s
  28   Motion to Dismiss for failure to comply with Local Rule 7-3 and Paragraph 5(b) of
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            JOINT STATEMENT REGARDING MEETING AND CONFERRING
                                  ON MOTION TO DISMISS
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   1   this Court’s standing order. See Dkt. 13. Pursuant to this order, lead trial counsel
   2   are to meet and confer, in person, no later than November 8, 2019. Then, if the
   3   parties are unable to resolve the issues in the Motion to Dismiss, each party is to
   4   file a declaration explaining which (if any) of the issues were resolved. If the
   5   Motion to Dismiss is still necessary, the order requires it to be filed no sooner than
   6   two days after the parties’ respective declarations. Id.
   7         3.     Jill Williams, the lead trial counsel for Defendants County of Los
   8   Angeles and Deputy Jose Hurtado (who was served on October 31, 2019), has
   9   been of the country on vacation since October 27, 2019, and will be returning on
  10   November 10, 2019. Thus, because meeting and conferring in person is not
  11   possible before the Court’s November 8 deadline, on November 4, 2019, Ms.
  12   Williams contacted plaintiffs’ counsel, Greg Garrotto, by phone to engage in
  13   further meet and confer efforts concerning the Motion to Dismiss.
  14         4.     When counsel discussed whether any of the issues raised in the
  15   motion could be resolved without the necessity of law and motion, plaintiffs’
  16   counsel explained that based on the information presently in the plaintiffs’
  17   possession, an informal resolution was not possible.
  18         5.      To the extent the Court requires further meet and confer in person,
  19   the parties request an extension to November 25, 2019 (i.e. the day of the
  20   Scheduling Conference set in this case), to do so. Although the County
  21   Defendants’ lead trial counsel, Ms. Williams, returns on Sunday, November 10,
  22   2019 (a Sunday), she begins trial on Tuesday, November 12, 2019, in Fermin
  23   Vincent Valenzuela v. City of Anaheim, USDC Case No. 8:17-cv-00278-CJC-
  24   DFM, which will likely last at least two weeks.
  25         6.     Finally, because Deputy Hurtado was served on October 31, 2019, his
  26   deadline to file a responsive pleading is November 21, 2019. Because Deputy
  27   Hurtado will be joining in the Motion to Dismiss filed on behalf of the County, the
  28   plaintiffs and the County Defendants hereby agree to extend Deputy Hurtado’s
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             JOINT STATEMENT REGARDING MEETING AND CONFERRING
                                  ON MOTION TO DISMISS
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   1   deadline to respond to the Complaint to November 27, 2019.
   2         IT IS SO STIPULATED.
   3
       DATED: November 4, 2019           LAW OFFICES OF GREG W. GARROTTO
   4
   5                                                   /s/
                                      By: ___________________________________
   6
                                          GREG W. GARROTTO
   7                                      Attorneys for Plaintiffs
   8                                      Sherrie Miller and T.W.

   9   DATED: November 4, 2019       CARPENTER, ROTHANS & DUMONT LLP
  10
                                                      /s/
  11                                  By: ___________________________________
  12                                      JILL WILLIAMS
                                          JOSEPH A. GORDON
  13                                      Attorneys for Defendants,
  14                                      County of Los Angeles and
                                          Deputy Jose Hurtado
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            JOINT STATEMENT REGARDING MEETING AND CONFERRING
                           ON MOTION TO DISMISS
